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                                 #:325357




               EXHIBIT 6
        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 2 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                         #:325358
                                                                       17900 Jamboree Road
                                                                       Irvine, CA 92614
                                                                       Tel: 949.975.1234
                                                                       Fax: 949.852.1574
                                                                       Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                  Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                              Arrival            12-28-10
        Van Nuys CA 91406                                              Departure          01-28-11
        United States
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                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                       Charges              Credits
             Simpson, Lisa Room # 0219
01-26-11     Package Room                                                         99.00
01-26-11     Occupancy Tax                                                         9.90
01-26-11     CA Assessment Fee                                                     0.13
01-27-11     Package Room                                                         99.00
01-27-11     Occupancy Tax                                                         9.90
01-27-11     CA Assessment Fee                                                     0.13
                                           Guest Total                           218.06                0.00
             Dunn, Julian Room # 0221
01-12-11     Package Room                                                         99.00
01-12-11     Occupancy Tax                                                         9.90
01-12-11     CA Assessment Fee                                                     0.13
01-13-11     Package Room                                                         99.00
01-13-11     Occupancy Tax                                                         9.90
01-13-11     CA Assessment Fee                                                     0.13
01-14-11     Package Room                                                         99.00
01-14-11     Occupancy Tax                                                         9.90
01-14-11     CA Assessment Fee                                                     0.13
01-15-11     Package Room                                                         99.00
01-15-11     Occupancy Tax                                                         9.90
01-15-11     CA Assessment Fee                                                     0.13
01-16-11     Package Room                                                         99.00
01-16-11     Occupancy Tax                                                         9.90
01-16-11     CA Assessment Fee                                                     0.13
01-17-11     Package Room                                                         99.00
01-17-11     Occupancy Tax                                                         9.90
01-17-11     CA Assessment Fee                                                     0.13


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                                                                     Hyatt Regency Irvine
                                         #:325359
                                                                       17900 Jamboree Road
                                                                       Irvine, CA 92614
                                                                       Tel: 949.975.1234
                                                                       Fax: 949.852.1574
                                                                       Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                  Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                              Arrival            12-28-10
        Van Nuys CA 91406                                              Departure          01-28-11
        United States
                                                                       Page No.           2 of 77
                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                       Charges              Credits
01-18-11     Package Room                                                         99.00
01-18-11     Occupancy Tax                                                         9.90
01-18-11     CA Assessment Fee                                                     0.13
01-19-11     Package Room                                                         99.00
01-19-11     Occupancy Tax                                                         9.90
01-19-11     CA Assessment Fee                                                     0.13
                                           Guest Total                           872.24                0.00
             Freitas, Bob Room # 0222
01-03-11     No Show Room                                                         99.00
01-03-11     Occupancy Tax                                                         9.90
01-03-11     CA Assessment Fee                                                     0.13
                                           Guest Total                           109.03                0.00
             Freitas, Bob Room # 0222
01-11-11     Package Room                                                         99.00
01-11-11     Occupancy Tax                                                         9.90
01-11-11     CA Assessment Fee                                                     0.13
01-12-11     Package Room                                                         99.00
01-12-11     Occupancy Tax                                                         9.90
01-12-11     CA Assessment Fee                                                     0.13
01-13-11     Package Room                                                         99.00
01-13-11     Occupancy Tax                                                         9.90
01-13-11     CA Assessment Fee                                                     0.13
01-14-11     Package Room                                                         99.00
01-14-11     Occupancy Tax                                                         9.90
01-14-11     CA Assessment Fee                                                     0.13
01-15-11     Package Room                                                         99.00
01-15-11     Occupancy Tax                                                         9.90


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                                                                     Hyatt Regency Irvine
                                         #:325360
                                                                       17900 Jamboree Road
                                                                       Irvine, CA 92614
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                                                                       Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                  Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                              Arrival            12-28-10
        Van Nuys CA 91406                                              Departure          01-28-11
        United States
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                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                       Charges              Credits
01-15-11     CA Assessment Fee                                                     0.13
01-16-11     Package Room                                                        99.00
01-16-11     Occupancy Tax                                                         9.90
01-16-11     CA Assessment Fee                                                     0.13
01-17-11     Package Room                                                        99.00
01-17-11     Occupancy Tax                                                         9.90
01-17-11     CA Assessment Fee                                                     0.13
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                         9.90
01-18-11     CA Assessment Fee                                                     0.13
01-19-11     Package Room                                                        99.00
01-19-11     Occupancy Tax                                                         9.90
01-19-11     CA Assessment Fee                                                     0.13
01-20-11     Package Room                                                        99.00
01-20-11     Occupancy Tax                                                         9.90
01-20-11     CA Assessment Fee                                                     0.13
01-21-11     Package Room                                                        99.00
01-21-11     Occupancy Tax                                                         9.90
01-21-11     CA Assessment Fee                                                     0.13
01-22-11     Package Room                                                        99.00
01-22-11     Occupancy Tax                                                         9.90
01-22-11     CA Assessment Fee                                                     0.13
01-23-11     Package Room                                                        99.00
01-23-11     Occupancy Tax                                                         9.90
01-23-11     CA Assessment Fee                                                     0.13
01-24-11     Package Room                                                        99.00
01-24-11     Occupancy Tax                                                         9.90


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 5 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                         #:325361
                                                                       17900 Jamboree Road
                                                                       Irvine, CA 92614
                                                                       Tel: 949.975.1234
                                                                       Fax: 949.852.1574
                                                                       Web: www.irvine.hyatt.com


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Payee                                                                  Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                              Arrival            12-28-10
        Van Nuys CA 91406                                              Departure          01-28-11
        United States
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                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                       Charges              Credits
01-24-11     CA Assessment Fee                                                     0.13
01-25-11     Package Room                                                        99.00
01-25-11     Occupancy Tax                                                         9.90
01-25-11     CA Assessment Fee                                                     0.13
01-26-11     Package Room                                                        99.00
01-26-11     Occupancy Tax                                                         9.90
01-26-11     CA Assessment Fee                                                     0.13
01-27-11     Package Room                                                        99.00
01-27-11     Occupancy Tax                                                         9.90
01-27-11     CA Assessment Fee                                                     0.13
                                           Guest Total                         1,853.51                0.00
             Barker, Madeline Room # 0223
01-09-11     Package Room                                                        99.00
01-09-11     Occupancy Tax                                                         9.90
01-09-11     CA Assessment Fee                                                     0.13
01-10-11     Package Room                                                        99.00
01-10-11     Occupancy Tax                                                         9.90
01-10-11     CA Assessment Fee                                                     0.13
01-11-11     Package Room                                                        99.00
01-11-11     Occupancy Tax                                                         9.90
01-11-11     CA Assessment Fee                                                     0.13
01-12-11     Package Room                                                        99.00
01-12-11     Occupancy Tax                                                         9.90
01-12-11     CA Assessment Fee                                                     0.13
01-13-11     Package Room                                                        99.00
01-13-11     Occupancy Tax                                                         9.90
01-13-11     CA Assessment Fee                                                     0.13


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                                                                     Hyatt Regency Irvine
                                         #:325362
                                                                       17900 Jamboree Road
                                                                       Irvine, CA 92614
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                                                                       Fax: 949.852.1574
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Payee                                                                  Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                              Arrival            12-28-10
        Van Nuys CA 91406                                              Departure          01-28-11
        United States
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Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                       Charges              Credits
01-14-11     Package Room                                                        99.00
01-14-11     Occupancy Tax                                                         9.90
01-14-11     CA Assessment Fee                                                     0.13
01-15-11     Package Room                                                        99.00
01-15-11     Occupancy Tax                                                         9.90
01-15-11     CA Assessment Fee                                                     0.13
01-16-11     Package Room                                                        99.00
01-16-11     Occupancy Tax                                                         9.90
01-16-11     CA Assessment Fee                                                     0.13
01-17-11     Package Room                                                        99.00
01-17-11     Occupancy Tax                                                         9.90
01-17-11     CA Assessment Fee                                                     0.13
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                         9.90
01-18-11     CA Assessment Fee                                                     0.13
                                           Guest Total                         1,090.30                0.00
             Watson, Cheryl Room # 0223
01-20-11     Package Room                                                        99.00
01-20-11     Occupancy Tax                                                         9.90
01-20-11     CA Assessment Fee                                                     0.13
01-21-11     Package Room                                                        99.00
01-21-11     Occupancy Tax                                                         9.90
01-21-11     CA Assessment Fee                                                     0.13
01-22-11     Package Room                                                        99.00
01-22-11     Occupancy Tax                                                         9.90
01-22-11     CA Assessment Fee                                                     0.13
01-23-11     Package Room                                                        99.00


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                                                                     Hyatt Regency Irvine
                                         #:325363
                                                                       17900 Jamboree Road
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                                                                       Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                  Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                              Arrival            12-28-10
        Van Nuys CA 91406                                              Departure          01-28-11
        United States
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                                                                       Folio Window 1
Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                       Charges              Credits
01-23-11     Occupancy Tax                                                         9.90
01-23-11     CA Assessment Fee                                                     0.13
01-24-11     Package Room                                                         99.00
01-24-11     Occupancy Tax                                                         9.90
01-24-11     CA Assessment Fee                                                     0.13
01-25-11     Package Room                                                         99.00
01-25-11     Occupancy Tax                                                         9.90
01-25-11     CA Assessment Fee                                                     0.13
01-26-11     Package Room                                                         99.00
01-26-11     Occupancy Tax                                                         9.90
01-26-11     CA Assessment Fee                                                     0.13
01-27-11     Package Room                                                         99.00
01-27-11     Occupancy Tax                                                         9.90
01-27-11     CA Assessment Fee                                                     0.13
                                           Guest Total                           872.24                0.00
             Barker, Madeline Room # 0226
01-24-11     Package Room                                                         99.00
01-24-11     Occupancy Tax                                                         9.90
01-24-11     CA Assessment Fee                                                     0.13
01-25-11     Package Room                                                         99.00
01-25-11     Occupancy Tax                                                         9.90
01-25-11     CA Assessment Fee                                                     0.13
01-26-11     Package Room                                                         99.00
01-26-11     Occupancy Tax                                                         9.90
01-26-11     CA Assessment Fee                                                     0.13
01-27-11     Package Room                                                         99.00
01-27-11     Occupancy Tax                                                         9.90


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                                                                     Hyatt Regency Irvine
                                         #:325364
                                                                       17900 Jamboree Road
                                                                       Irvine, CA 92614
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Payee                                                                  Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                              Arrival            12-28-10
        Van Nuys CA 91406                                              Departure          01-28-11
        United States
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Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                       Charges              Credits
01-27-11     CA Assessment Fee                                                     0.13
                                           Guest Total                           436.12                0.00
             Mingrone, Denise Marie Room # 0228
01-09-11     Package Room                                                         99.00
01-09-11     Occupancy Tax                                                         9.90
01-09-11     CA Assessment Fee                                                     0.13
01-10-11     Package Room                                                         99.00
01-10-11     Occupancy Tax                                                         9.90
01-10-11     CA Assessment Fee                                                     0.13
01-11-11     Package Room                                                         99.00
01-11-11     Occupancy Tax                                                         9.90
01-11-11     CA Assessment Fee                                                     0.13
01-12-11     Package Room                                                         99.00
01-12-11     Occupancy Tax                                                         9.90
01-12-11     CA Assessment Fee                                                     0.13
01-13-11     Package Room                                                         99.00
01-13-11     Occupancy Tax                                                         9.90
01-13-11     CA Assessment Fee                                                     0.13
01-14-11     Package Room                                                         99.00
01-14-11     Occupancy Tax                                                         9.90
01-14-11     CA Assessment Fee                                                     0.13
01-15-11     Package Room                                                         99.00
01-15-11     Occupancy Tax                                                         9.90
01-15-11     CA Assessment Fee                                                     0.13
01-16-11     Package Room                                                         99.00
01-16-11     Occupancy Tax                                                         9.90
01-16-11     CA Assessment Fee                                                     0.13


CONFIDENTIAL - ATTORNEYS' EYES ONLY                                      Exhibit 6 - Page 392
        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 9 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                         #:325365
                                                                       17900 Jamboree Road
                                                                       Irvine, CA 92614
                                                                       Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                  Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                              Arrival            12-28-10
        Van Nuys CA 91406                                              Departure          01-28-11
        United States
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Membership
Bonus Code                                                             Folio

Confirmation No.                                                       Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                       Charges              Credits
01-17-11     Package Room                                                        99.00
01-17-11     Occupancy Tax                                                         9.90
01-17-11     CA Assessment Fee                                                     0.13
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                         9.90
01-18-11     CA Assessment Fee                                                     0.13
01-19-11     Package Room                                                        99.00
01-19-11     Occupancy Tax                                                         9.90
01-19-11     CA Assessment Fee                                                     0.13
01-20-11     Package Room                                                        99.00
01-20-11     Occupancy Tax                                                         9.90
01-20-11     CA Assessment Fee                                                     0.13
01-21-11     Package Room                                                        99.00
01-21-11     Occupancy Tax                                                         9.90
01-21-11     CA Assessment Fee                                                     0.13
01-22-11     Package Room                                                        99.00
01-22-11     Occupancy Tax                                                         9.90
01-22-11     CA Assessment Fee                                                     0.13
01-23-11     Package Room                                                        99.00
01-23-11     Occupancy Tax                                                         9.90
01-23-11     CA Assessment Fee                                                     0.13
01-24-11     Package Room                                                        99.00
01-24-11     Occupancy Tax                                                         9.90
01-24-11     CA Assessment Fee                                                     0.13
01-25-11     Package Room                                                        99.00
01-25-11     Occupancy Tax                                                         9.90
01-25-11     CA Assessment Fee                                                     0.13


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 10 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325366
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges              Credits
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57                0.00
             Murphy, Brian Room # 0229
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 11 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325367
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00


CONFIDENTIAL - ATTORNEYS' EYES ONLY                                     Exhibit 6 - Page 395
        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 12 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325368
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        1,744.48              0.00
             Stovall, Mike Room # 0230
01-17-11     Package Room                                                        99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                        99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          327.09              0.00
             Mccarthy, Cary Room # 0231
12-28-10     Package Room                                                        99.00
12-28-10     Occupancy Tax                                                        9.90
12-28-10     CA Assessment Fee                                                    0.13
12-29-10     Package Room                                                        99.00
12-29-10     Occupancy Tax                                                        9.90
12-29-10     CA Assessment Fee                                                    0.13
                                           Guest Total                          218.06              0.00
             Rorie, Frank Room # 0231
01-09-11     Package Room                                                        99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                        99.00


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                                                                     Hyatt Regency Irvine
                                          #:325369
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325370
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00


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                                                                      17900 Jamboree Road
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
             Machado, Gustavo Room # 0233
01-12-11     No Show Room                                                        99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          109.03              0.00
             Machado, Gustavo Room # 0233
01-24-11     No Show Room                                                        99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          109.03              0.00
             Navarro, Maria Room # 0234
01-09-11     Package Room                                                        99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                        99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                        99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                        99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                        99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                        99.00


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                                                                     Hyatt Regency Irvine
                                          #:325372
                                                                      17900 Jamboree Road
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00


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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                        99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                        99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                        99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                        99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             Garcia, Paula Room # 0235
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                        99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                        99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          327.09              0.00
             Granberry, Derrick Room # 0236


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                                                                      17900 Jamboree Road
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-17-11     Package Room                                                        99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                        99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          327.09              0.00
             Granberry, Derrick Room # 0236
01-24-11     Package Room                                                        99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                        99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                        99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                        99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          436.12              0.00
             Molinski, Bill Room # 0238
01-09-11     Package Room                                                        99.00
01-09-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325375
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325376
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 21 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325377
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             Baker, Bryce Room # 0239
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
                                          #:325378
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
                                          #:325379
                                                                      17900 Jamboree Road
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                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                             Guest Total                      2,071.57              0.00
             Phillips, Melanie Room # 0244
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325380
                                                                      17900 Jamboree Road
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                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325381
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             Salas, Manuel Room # 0245
01-08-11     Package Room                                                       99.00
01-08-11     Occupancy Tax                                                        9.90
01-08-11     CA Assessment Fee                                                    0.13
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325382
                                                                      17900 Jamboree Road
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325383
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                                                                      Irvine, CA 92614
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,180.60              0.00
             Cote, Alex Room # 0248
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
                                          #:325385
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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                                                                      Fax: 949.852.1574
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        1,744.48              0.00
             Avilla, Jason Room # 0249
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 30 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325386
                                                                      17900 Jamboree Road
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 31 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325387
                                                                      17900 Jamboree Road
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        1,744.48              0.00
             Avilla, Jason Room # 0249
12-28-10     Package Room                                                       99.00
12-28-10     Occupancy Tax                                                        9.90
12-28-10     CA Assessment Fee                                                    0.13
12-29-10     Package Room                                                       99.00
12-29-10     Occupancy Tax                                                        9.90
12-29-10     CA Assessment Fee                                                    0.13
12-30-10     Package Room                                                       99.00
12-30-10     Occupancy Tax                                                        9.90
12-30-10     CA Assessment Fee                                                    0.13
12-31-10     Package Room                                                       99.00
12-31-10     Occupancy Tax                                                        9.90
12-31-10     CA Assessment Fee                                                    0.13
01-01-11     Package Room                                                       99.00
01-01-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325388
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-01-11     CA Assessment Fee                                                    0.13
01-02-11     Package Room                                                       99.00
01-02-11     Occupancy Tax                                                        9.90
01-02-11     CA Assessment Fee                                                    0.13
01-03-11     Package Room                                                       99.00
01-03-11     Occupancy Tax                                                        9.90
01-03-11     CA Assessment Fee                                                    0.13
01-04-11     Package Room                                                       99.00
01-04-11     Occupancy Tax                                                        9.90
01-04-11     CA Assessment Fee                                                    0.13
01-05-11     Package Room                                                       99.00
01-05-11     Occupancy Tax                                                        9.90
01-05-11     CA Assessment Fee                                                    0.13
01-06-11     Package Room                                                       99.00
01-06-11     Occupancy Tax                                                        9.90
01-06-11     CA Assessment Fee                                                    0.13
01-07-11     Package Room                                                       99.00
01-07-11     Occupancy Tax                                                        9.90
01-07-11     CA Assessment Fee                                                    0.13
01-08-11     Package Room                                                       99.00
01-08-11     Occupancy Tax                                                        9.90
01-08-11     CA Assessment Fee                                                    0.13
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325389
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-10-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        1,526.42              0.00
             Kieckhefer, Kieran Room # 0250
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
                                          #:325390
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
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Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13


CONFIDENTIAL - ATTORNEYS' EYES ONLY                                     Exhibit 6 - Page 418
        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 35 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325391
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
                                                                      Page No.           34 of 77
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             Ako-Nai, Abby Room # 0252
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 36 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325392
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 37 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325393
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             Boulankine, Denis Room # 0253
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 38 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325394
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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                                                                      Fax: 949.852.1574
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                        99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                        99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          872.24              0.00
             Rutowski, Diana Room # 0255
01-09-11     Package Room                                                        99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                        99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                        99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                        99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                        99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 39 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325395
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 40 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325396
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             Mcbirney, Jimmy Room # 0257
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 41 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325397
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 42 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325398
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             San Diego, Neal Room # 0259
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 43 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325399
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90


CONFIDENTIAL - ATTORNEYS' EYES ONLY                                     Exhibit 6 - Page 427
        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 44 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325400
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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                                                                      Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                            Guest Total                       2,071.57              0.00
             Palencia, Mystic Room # 0260


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 45 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325401
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
                                          #:325402
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
                                                                      Page No.           45 of 77
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 47 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325403
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
                                                                      Page No.           46 of 77
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             Groner, James Room # 0261
12-28-10     Package Room                                                       99.00
12-28-10     Occupancy Tax                                                        9.90
12-28-10     CA Assessment Fee                                                    0.13
12-29-10     Package Room                                                       99.00
12-29-10     Occupancy Tax                                                        9.90
12-29-10     CA Assessment Fee                                                    0.13
12-30-10     Package Room                                                       99.00
12-30-10     Occupancy Tax                                                        9.90
12-30-10     CA Assessment Fee                                                    0.13
12-31-10     Package Room                                                       99.00
12-31-10     Occupancy Tax                                                        9.90
12-31-10     CA Assessment Fee                                                    0.13
01-01-11     Package Room                                                       99.00
01-01-11     Occupancy Tax                                                        9.90
01-01-11     CA Assessment Fee                                                    0.13
01-02-11     Package Room                                                       99.00
01-02-11     Occupancy Tax                                                        9.90
01-02-11     CA Assessment Fee                                                    0.13
01-03-11     Package Room                                                       99.00
01-03-11     Occupancy Tax                                                        9.90
01-03-11     CA Assessment Fee                                                    0.13
01-04-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325404
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-04-11     Occupancy Tax                                                        9.90
01-04-11     CA Assessment Fee                                                    0.13
01-05-11     Package Room                                                       99.00
01-05-11     Occupancy Tax                                                        9.90
01-05-11     CA Assessment Fee                                                    0.13
01-06-11     Package Room                                                       99.00
01-06-11     Occupancy Tax                                                        9.90
01-06-11     CA Assessment Fee                                                    0.13
01-07-11     Package Room                                                       99.00
01-07-11     Occupancy Tax                                                        9.90
01-07-11     CA Assessment Fee                                                    0.13
01-08-11     Package Room                                                       99.00
01-08-11     Occupancy Tax                                                        9.90
01-08-11     CA Assessment Fee                                                    0.13
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 49 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325405
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325406
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        3,270.90              0.00
             Parker, Warrington Room # 0262
01-03-11     Package Room                                                       99.00
01-03-11     Occupancy Tax                                                        9.90
01-03-11     CA Assessment Fee                                                    0.13
01-04-11     Package Room                                                       99.00
01-04-11     Occupancy Tax                                                        9.90
01-04-11     CA Assessment Fee                                                    0.13
01-05-11     Package Room                                                       99.00
01-05-11     Occupancy Tax                                                        9.90
01-05-11     CA Assessment Fee                                                    0.13
01-06-11     Package Room                                                       99.00
01-06-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325407
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-06-11     CA Assessment Fee                                                    0.13
01-07-11     Package Room                                                       99.00
01-07-11     Occupancy Tax                                                        9.90
01-07-11     CA Assessment Fee                                                    0.13
01-08-11     Package Room                                                       99.00
01-08-11     Occupancy Tax                                                        9.90
01-08-11     CA Assessment Fee                                                    0.13
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325408
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 53 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325409
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,725.75              0.00
             Overland, Mark Room # 0263
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13


CONFIDENTIAL - ATTORNEYS' EYES ONLY                                     Exhibit 6 - Page 437
        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 54 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325410
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13


CONFIDENTIAL - ATTORNEYS' EYES ONLY                                     Exhibit 6 - Page 438
        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 55 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325411
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        1,744.48              0.00
             Calderon, James Room # 0264
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 56 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325412
                                                                      17900 Jamboree Road
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                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        1,090.30              0.00
             Boulankine, Denis Room # 0265
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325413
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                        99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                        99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                        99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          872.24              0.00
             Calderon, James Room # 0267
01-20-11     Package Room                                                        99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                        99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                        99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                        99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                        99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
                                          #:325414
                                                                      17900 Jamboree Road
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-25-11     Package Room                                                        99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                        99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                        99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          872.24              0.00
             Hewlett, Matthew Room # 0268
12-28-10     Package Room                                                        99.00
12-28-10     Occupancy Tax                                                        9.90
12-28-10     CA Assessment Fee                                                    0.13
12-29-10     Package Room                                                        99.00
12-29-10     Occupancy Tax                                                        9.90
12-29-10     CA Assessment Fee                                                    0.13
12-30-10     Package Room                                                        99.00
12-30-10     Occupancy Tax                                                        9.90
12-30-10     CA Assessment Fee                                                    0.13
12-31-10     Package Room                                                        99.00
12-31-10     Occupancy Tax                                                        9.90
12-31-10     CA Assessment Fee                                                    0.13
01-01-11     Package Room                                                        99.00
01-01-11     Occupancy Tax                                                        9.90
01-01-11     CA Assessment Fee                                                    0.13
01-02-11     Package Room                                                        99.00


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-02-11     Occupancy Tax                                                        9.90
01-02-11     CA Assessment Fee                                                    0.13
01-03-11     Package Room                                                       99.00
01-03-11     Occupancy Tax                                                        9.90
01-03-11     CA Assessment Fee                                                    0.13
01-04-11     Package Room                                                       99.00
01-04-11     Occupancy Tax                                                        9.90
01-04-11     CA Assessment Fee                                                    0.13
01-05-11     Package Room                                                       99.00
01-05-11     Occupancy Tax                                                        9.90
01-05-11     CA Assessment Fee                                                    0.13
01-06-11     Package Room                                                       99.00
01-06-11     Occupancy Tax                                                        9.90
01-06-11     CA Assessment Fee                                                    0.13
01-07-11     Package Room                                                       99.00
01-07-11     Occupancy Tax                                                        9.90
01-07-11     CA Assessment Fee                                                    0.13
01-08-11     Package Room                                                       99.00
01-08-11     Occupancy Tax                                                        9.90
01-08-11     CA Assessment Fee                                                    0.13
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325416
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325417
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        3,379.93              0.00
             Barker, Madeline Room # 0305
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-20-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          109.03              0.00
             Arant, Lucy Room # 0305
01-26-11     Package Room                                                        99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                        99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          218.06              0.00
             Quiban, Rina Room # 0333
01-16-11     Package Room                                                        99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                        99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                        99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                        99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                        99.00


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                                                                     Hyatt Regency Irvine
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                                                                      17900 Jamboree Road
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                        99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                        99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          872.24              0.00
             Stovall, Mike Room # 0336
01-24-11     Package Room                                                        99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                        99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                        99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                        99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          436.12              0.00
             Larian, Issaac Room # 0340
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13


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                                                                     Hyatt Regency Irvine
                                          #:325420
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-19-11     Package Room                                                        99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          218.06              0.00
             Larian, Issac Room # 0341
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                        99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          218.06              0.00
             Hurst, Annette Room # 0362
01-02-11     Package Room                                                        99.00
01-02-11     Occupancy Tax                                                        9.90
01-02-11     CA Assessment Fee                                                    0.13
01-03-11     Package Room                                                        99.00
01-03-11     Occupancy Tax                                                        9.90
01-03-11     CA Assessment Fee                                                    0.13
01-04-11     Package Room                                                        99.00
01-04-11     Occupancy Tax                                                        9.90
01-04-11     CA Assessment Fee                                                    0.13
01-05-11     Package Room                                                        99.00
01-05-11     Occupancy Tax                                                        9.90
01-05-11     CA Assessment Fee                                                    0.13
01-06-11     Package Room                                                        99.00
01-06-11     Occupancy Tax                                                        9.90


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 65 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325421
                                                                      17900 Jamboree Road
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-06-11     CA Assessment Fee                                                    0.13
01-07-11     Package Room                                                       99.00
01-07-11     Occupancy Tax                                                        9.90
01-07-11     CA Assessment Fee                                                    0.13
01-08-11     Package Room                                                       99.00
01-08-11     Occupancy Tax                                                        9.90
01-08-11     CA Assessment Fee                                                    0.13
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325422
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325423
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
                                                                      Page No.           66 of 77
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,834.78              0.00
             Hall, Lynn Room # 0421
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 68 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325424
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
                                                                      Page No.           67 of 77
                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 69 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325425
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             Murray, Bernadette Room # 0713
01-09-11     Package Room                                                       99.00
01-09-11     Occupancy Tax                                                        9.90
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       99.00
01-10-11     Occupancy Tax                                                        9.90
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       99.00
01-11-11     Occupancy Tax                                                        9.90
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325426
                                                                      17900 Jamboree Road
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-12-11     Occupancy Tax                                                        9.90
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       99.00
01-13-11     Occupancy Tax                                                        9.90
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       99.00
01-14-11     Occupancy Tax                                                        9.90
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       99.00


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                                                                     Hyatt Regency Irvine
                                          #:325427
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        2,071.57              0.00
             Bonis, Peter Room # 0718
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90


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                                                                     Hyatt Regency Irvine
                                          #:325428
                                                                      17900 Jamboree Road
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Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          218.06              0.00
             Bryant, Carter Room # 0722
01-26-11     Package Room                                                        99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                        99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          218.06              0.00
             Garcia, Paula Room # 0820
01-24-11     Package Room                                                        99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                        99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                        99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                        99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                          436.12              0.00
             Rofheart, Barry Room # 0923
12-30-10     Package Room                                                       134.00
12-30-10     Occupancy Tax                                                       13.40


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                                                                     Hyatt Regency Irvine
                                          #:325429
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
12-30-10     CA Assessment Fee                                                    0.13
12-31-10     Package Room                                                       134.00
12-31-10     Occupancy Tax                                                       13.40
12-31-10     CA Assessment Fee                                                    0.13
01-01-11     Package Room                                                       134.00
01-01-11     Occupancy Tax                                                       13.40
01-01-11     CA Assessment Fee                                                    0.13
01-02-11     Package Room                                                       134.00
01-02-11     Occupancy Tax                                                       13.40
01-02-11     CA Assessment Fee                                                    0.13
01-03-11     Package Room                                                       134.00
01-03-11     Occupancy Tax                                                       13.40
01-03-11     CA Assessment Fee                                                    0.13
01-04-11     Package Room                                                       134.00
01-04-11     Occupancy Tax                                                       13.40
01-04-11     CA Assessment Fee                                                    0.13
01-05-11     Package Room                                                       134.00
01-05-11     Occupancy Tax                                                       13.40
01-05-11     CA Assessment Fee                                                    0.13
01-06-11     Package Room                                                       134.00
01-06-11     Occupancy Tax                                                       13.40
01-06-11     CA Assessment Fee                                                    0.13
01-07-11     Package Room                                                       134.00
01-07-11     Occupancy Tax                                                       13.40
01-07-11     CA Assessment Fee                                                    0.13
01-08-11     Package Room                                                       134.00
01-08-11     Occupancy Tax                                                       13.40


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                                                                     Hyatt Regency Irvine
                                          #:325430
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-08-11     CA Assessment Fee                                                    0.13
01-09-11     Package Room                                                       134.00
01-09-11     Occupancy Tax                                                       13.40
01-09-11     CA Assessment Fee                                                    0.13
01-10-11     Package Room                                                       134.00
01-10-11     Occupancy Tax                                                       13.40
01-10-11     CA Assessment Fee                                                    0.13
01-11-11     Package Room                                                       134.00
01-11-11     Occupancy Tax                                                       13.40
01-11-11     CA Assessment Fee                                                    0.13
01-12-11     Package Room                                                       134.00
01-12-11     Occupancy Tax                                                       13.40
01-12-11     CA Assessment Fee                                                    0.13
01-13-11     Package Room                                                       134.00
01-13-11     Occupancy Tax                                                       13.40
01-13-11     CA Assessment Fee                                                    0.13
01-14-11     Package Room                                                       134.00
01-14-11     Occupancy Tax                                                       13.40
01-14-11     CA Assessment Fee                                                    0.13
01-15-11     Package Room                                                       134.00
01-15-11     Occupancy Tax                                                       13.40
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       134.00
01-16-11     Occupancy Tax                                                       13.40
01-16-11     CA Assessment Fee                                                    0.13
01-17-11     Package Room                                                       134.00
01-17-11     Occupancy Tax                                                       13.40


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 75 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325431
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                       134.00
01-18-11     Occupancy Tax                                                       13.40
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                       134.00
01-19-11     Occupancy Tax                                                       13.40
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                       134.00
01-20-11     Occupancy Tax                                                       13.40
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                       134.00
01-21-11     Occupancy Tax                                                       13.40
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       134.00
01-22-11     Occupancy Tax                                                       13.40
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       134.00
01-23-11     Occupancy Tax                                                       13.40
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       134.00
01-24-11     Occupancy Tax                                                       13.40
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       134.00
01-25-11     Occupancy Tax                                                       13.40
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       134.00
01-26-11     Occupancy Tax                                                       13.40


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 76 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325432
                                                                      17900 Jamboree Road
                                                                      Irvine, CA 92614
                                                                      Tel: 949.975.1234
                                                                      Fax: 949.852.1574
                                                                      Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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                                                                      Folio Window 1
Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       134.00
01-27-11     Occupancy Tax                                                       13.40
01-27-11     CA Assessment Fee                                                    0.13
                                            Guest Total                       4,278.37              0.00
             Valerio, Anthony Room # 1007
01-15-11     Package Room                                                        99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                        99.00
01-16-11     Occupancy Tax                                                        9.90
01-16-11     CA Assessment Fee                                                    0.13
                                            Guest Total                         218.06              0.00
             Holden, Craig Room # 1412
01-17-11     Package Room                                                        99.00
01-17-11     Occupancy Tax                                                        9.90
01-17-11     CA Assessment Fee                                                    0.13
01-18-11     Package Room                                                        99.00
01-18-11     Occupancy Tax                                                        9.90
01-18-11     CA Assessment Fee                                                    0.13
01-19-11     Package Room                                                        99.00
01-19-11     Occupancy Tax                                                        9.90
01-19-11     CA Assessment Fee                                                    0.13
01-20-11     Package Room                                                        99.00
01-20-11     Occupancy Tax                                                        9.90
01-20-11     CA Assessment Fee                                                    0.13
01-21-11     Package Room                                                        99.00


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        Case 2:04-cv-09049-DOC-RNB Document 10684-6 Filed 07/11/11 Page 77 of 78 Page ID
                                                                     Hyatt Regency Irvine
                                          #:325433
                                                                      17900 Jamboree Road
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                                                                      Tel: 949.975.1234
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INFORMATION INVOICE



Payee                                                                 Room No.           9071
        MGA Entertainment Inc
        16380 Roscoe Blvd                                             Arrival            12-28-10
        Van Nuys CA 91406                                             Departure          01-28-11
        United States
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Membership
Bonus Code                                                            Folio

Confirmation No.                                                      Invoice

Group Name         MGA Entertainment Inc


 Date        Description                                                      Charges           Credits
01-21-11     Occupancy Tax                                                        9.90
01-21-11     CA Assessment Fee                                                    0.13
01-22-11     Package Room                                                       99.00
01-22-11     Occupancy Tax                                                        9.90
01-22-11     CA Assessment Fee                                                    0.13
01-23-11     Package Room                                                       99.00
01-23-11     Occupancy Tax                                                        9.90
01-23-11     CA Assessment Fee                                                    0.13
01-24-11     Package Room                                                       99.00
01-24-11     Occupancy Tax                                                        9.90
01-24-11     CA Assessment Fee                                                    0.13
01-25-11     Package Room                                                       99.00
01-25-11     Occupancy Tax                                                        9.90
01-25-11     CA Assessment Fee                                                    0.13
01-26-11     Package Room                                                       99.00
01-26-11     Occupancy Tax                                                        9.90
01-26-11     CA Assessment Fee                                                    0.13
01-27-11     Package Room                                                       99.00
01-27-11     Occupancy Tax                                                        9.90
01-27-11     CA Assessment Fee                                                    0.13
                                           Guest Total                        1,199.33              0.00
             MGA Entertainment Inc Room # 9071
01-15-11     Package Room                                                       99.00
01-15-11     Occupancy Tax                                                        9.90
01-15-11     CA Assessment Fee                                                    0.13
01-16-11     Package Room                                                       99.00
01-16-11     Occupancy Tax                                                        9.90


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                                                                        Hyatt Regency Irvine
                                             #:325434
                                                                                                                                            17900 Jamboree Road
                                                                                                                                            Irvine, CA 92614
                                                                                                                                            Tel: 949.975.1234
                                                                                                                                            Fax: 949.852.1574
                                                                                                                                            Web: www.irvine.hyatt.com


INFORMATION INVOICE



Payee                                                                                                                                       Room No.             9071
            MGA Entertainment Inc
            16380 Roscoe Blvd                                                                                                               Arrival              12-28-10
            Van Nuys CA 91406                                                                                                               Departure            01-28-11
            United States
                                                                                                                                            Page No.             77 of 77
                                                                                                                                            Folio Window 1
Membership
Bonus Code                                                                                                                                  Folio

Confirmation No.                                                                                                                            Invoice

Group Name                  MGA Entertainment Inc


 Date                Description                                                                                                                       Charges           Credits
01-16-11            CA Assessment Fee                                                                                                                     0.13
01-17-11            Package Room                                                                                                                         99.00
01-17-11            Occupancy Tax                                                                                                                         9.90
01-17-11            CA Assessment Fee                                                                                                                     0.13
                                                                    Guest Total                                                                         327.09               0.00
                    MGA Entertainment Inc Room # 9071
12-28-10            Deposit Transferred at C/I                                                                                                            0.00          50,000.00
12-30-10            Lock Changes                                                                                                                        105.00
                                                                    Guest Total                                                                         105.00          50,000.00

 No frequent traveler account has been credited for this
 stay. To enroll in Gold Passport, call 1-800-51-HYATT, or                      Total                                                             71,981.97          50,000.00
 visit www.GoldPassport.com.


                                                                                Balance                                                                      21,981.97

 Guest Signature                                                                                         Thank you for choosing Hyatt Regency Irvine!

 I agree that my liability for this bill is not waived and I agree to be held       Our goal is to exceed all of your expectations during your stay.
 personally liable in the event that the indicated person, company or               For comments, please contact us at quality-irvin@hyatt.com.
 association fails to pay for any part or the full amount of these charges.
                                                                                    For questions concerning your bill, please call 888-472-2870 or e-mail
 I accepted delivery of The Wall Street Journal M-F (Business Plan and              na.customerservice@hyatt.com
 Gold Passport guests only). If refused, a refund of $1 will be provided.
                                                                                    Please remit payment to:
                                                                                    Hyatt Regency Irvine
                                                                                    P.O. Box 844125
                                                                                    Dallas, TX 75284




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                                             Exhibit 6 - Page 462
